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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION



ROTHSCHILD BROADCAST DISTRIBUTION                         CASE NO. 6:15-CV-226
SYSTEMS, LLC,

                  Plaintiff,
                                                          JURY TRIAL DEMANDED
       v.

COMCAST CORPORATION,

                  Defendant.



       VOLUNTARY DISMISSAL OF DEFENDANT COMCAST CORPORATION
                     PURSUANT TO FED. R. CIV. P. 41


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Rothschild Broadcast Distribution

Systems, LLC, hereby voluntarily dismisses without prejudice its claims against Defendant

Comcast Corporation, in the above captioned action. Each party is to bear its own attorneys’

fees and costs.
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DATED: May 14, 2015                            Respectfully Submitted,


                                               By: /s/ Charles Ainsworth

                                               Charles Ainsworth
                                               State Bar No. 00783521
                                               Robert Christopher Bunt
                                               State Bar No. 00787165
                                               PARKER, BUNT & AINSWORTH, P.C.
                                               100 E. Ferguson, Suite 1114
                                               Tyler, TX 75702
                                               903/531-3535
                                               903/533-9687
                                               E-mail: charley@pbatyler.com
                                               E-mail: rcbunt@pbatyler.com
                                               Attorneys for Plaintiff,
                                               Rothschild Broadcast Distribution Systems,
                                               LLC


                               CERTIFICATE OF SERVICE

        I hereby certify that the following counsel of record, who are deemed to have consented
to electronic service are being served this 14th day of May, 2015, with a copy of this document
via the Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be
served by electronic mail, facsimile transmission and/or first class mail on this same date.

                                           /s/ Charles Ainsworth
                                           CHARLES AINSWORTH




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